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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF VIRGINIA

                         Alexandria Division


UNITED STATES OF AMERICA,           )
                                    )
           v.                       )       1:15cr301 (JCC)
                                    )
JEN SEKO, et al.,                   )
                                    )
     Defendants.                    )

                M E M O R A N D U M        O P I N I O N

           This matter is before the Court on Defendant Michael

Henderson’s (“Defendant” or “Henderson”) Motion in Limine

Regarding Use of Defendant’s Alleged Nickname.         [Dkt. 490.]

This matter is also before the Court on Defendant’s Motion to

Join Specific Motions in Limine Regarding Introduction of Tax

Returns.   [Dkt. 526.]    For the following reasons, the Court will

grant Defendant’s motion to exclude the use of his nickname, but

deny Defendant’s motion to exclude his tax returns.

                            I. Standard of Review

           The purpose of a motion in limine is to allow the

trial court to rule in advance of trial on the admissibility and

relevance of certain forecasted evidence.        Luce v. United

States, 469 U.S. 38, 40 n.2 (1984).       A court's ruling regarding

a motion in limine is "subject to change when the case unfolds,

particularly if the actual testimony differs from what was

[expected]."    Luce, 469 U.S. at 41.     Such evidentiary rulings

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“are entitled to substantial deference and will not be reversed

absent a clear abuse of discretion."        United States v. Moore, 27

F.3d 969, 974 (4th Cir. 1994); see also United States v.

Perkins, 470 F.3d 150, 155 (4th Cir. 2006).         "[The Court of

Appeals] will find that discretion to have been abused only when

the district court acted 'arbitrarily or irrationally.'" Id.

(quoting United States v. Ham, 998 F.2d 1247, 1252 (4th Cir.

1993)).

            As a general matter, all relevant evidence is

admissible unless there are constitutional, statutory, or rule-

based exceptions preventing its admission.         See Fed. R. Evid.

402.   Rule 401 of the Federal Rules of Evidence defines

“relevant” evidence as “evidence having any tendency to make the

existence of any fact that is of consequence to the

determination of the action more probable or less probable than

it would be without the evidence.”       Fed. R. Evid. 401.      What

constitutes “relevant evidence” depends on the facts of the

case, the nature of the claims, and the associated defenses to

those claims.

            One example of a rule-based exclusion to the admission

of relevant evidence is Rule 403 of the Federal Rules of

Evidence.    This Rule states that “[t]he court may exclude

relevant evidence if its probative value is substantially

outweighed by a danger of one or more of the following: unfair

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prejudice, confusing the issues, misleading the jury, undue

delay, wasting time, or needlessly presenting cumulative

evidence.”   Fed. R. Evid. 403.

           In addition, the Rules also contemplate the exclusion

of evidence of “‘other crimes, wrongs, or acts’ solely to prove

a defendant’s character.”     United States v. Basham, 561 F.3d

302, 326 (4th Cir. 2009) (quoting Rule 404(b)).          At the same

time, however, Rule 404(b) recognizes that this same evidence

“may ‘be admissible for other purposes, such as proof of motive,

opportunity, intent, preparation, plan, knowledge, identity, or

absence of mistake or accident.’”        Id.   In order for proffered

evidence to be admissible, the evidence: (1) “must be . . .

relevant to an issue other than character,” such as motive,

intent, or knowledge, United States v. Siegel, 536 F.3d 306,

317-18 (4th Cir. 2008) (internal quotation marks omitted); (2)

“must be necessary to prove an element of the crime charged,”

United States v. Queen, 132 F.3d 991, 995 (4th Cir. 1997), or to

prove context, see id. at 998; and (3) “must be reliable,” id.

at 995.   Finally, the evidence must not otherwise be subject to

exclusion under Rule 403.     United States v. Lighty, 616 F.3d

321, 352 (4th Cir. 2010).




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                                 II. Analysis

A.   Defendant Henderson’s Motion in Limine to Exclude Nickname

           Defendant argues that the Government’s use of his

alleged nickname, “Money Making Mike,” is not necessary to fully

identify him.    Def. Mot., ¶ 2.    Defendant also asserts that the

nickname is not relevant under Rule 401 and is being employed by

the Government solely “to harass and embarrass [him].”           Id.,

¶¶ 2-3.   As a result, Defendant asks the Court to exclude any

evidence, testimony, or argument that uses this nickname from

trial.

           The Government argues that the use of Defendant

Henderson’s nickname is necessary for witnesses to fully

identify him, intrinsic to the charged fraud scheme, and not

unfairly prejudicial.     Gov. Mem. in Opp. [Dkt. 515] at 1.        For

example, the Government asserts that Defendant Henderson was

known to his co-conspirators as “Money Mike” or “Money Making

Mike” due to his role in the conspiracy of opening bank

accounts, withdrawing victim payments, and distributing the

funds to other members of the conspiracy.        Id., ¶ 1.

Furthermore, the Government claims that this nickname

differentiated Defendant Henderson from other individuals named

“Mike” in the conspiracy and that some witnesses never learned

his last name.    Id., ¶ 2.   According to the Government, the use

of this nickname would not be unfairly prejudicial because it

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directly relates to the acts Defendant is accused of: handling

the money in this case.     Id., ¶ 4.

           “If the Government intends to introduce evidence of an

alias and the use of that alias is necessary to identify the

defendant in connection with the acts charged in the indictment,

the inclusion of the alias in the indictment is both relevant

and permissible.”    United States v. Clark, 541 F.2d 1016, 1018

(4th Cir. 1976) (per curiam) (internal citations omitted).            At

the same time, “admission of a defendant’s nickname is

impermissible when used only to demonstrate that ‘the defendant

ha[s] some sort of history or reputation for unsavory

activity,’” United States v. Brown, 5 F. Supp. 3d 786, 788 (E.D.

Va. 2014) (citing United States v. Williams, 739 F.2d 297, 299

(7th Cir. 1984)), when the prosecution fails to offer proof

relating to the alias, Clark, 541 F.2d at 1018, or when the

alias—although proven-holds no relationship to the acts charged,

id.   “Before receiving such evidence over a defendant’s

objection, a trial court should consider seriously whether the

probative value is substantially outweighed by any danger of

unfair prejudice, Fed. R. Evid. 403, and whether introduction of

the nickname is truly needed to identify the defendant, connect

him with the crime, or prove some other matter of significance.”

United States v. Farmer, 583 F.3d 131, 135 (2d Cir. 2009).




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           Here, the use of Defendant’s nickname meets Rule 401’s

definition of relevance.     The Government intends to show that

Defendant was known as “Money Mike” or “Money Making Mike” to

his co-conspirators, that this nickname helped differentiate him

from other individuals named “Mike” in the alleged fraud scam,

and that some witnesses never learned his last name.          Thus, such

evidence is admissible unless there are constitutional,

statutory, or rule-based exceptions prohibiting it.          See Fed. R.

Evid. 402.

           After weighing the use of Defendant’s nickname against

the danger of any unfair prejudice under Rule 403, the Court

finds that “Money Making Mike” should be excluded.          Although

Defendant’s nickname may help the prosecution to partially

identify him and connect him with the charged crimes, the use of

this alias is not “truly needed” for identification purposes.

Farmer, 583 F.3d at 135.     That is because all of Defendant’s co-

conspirators and the Government’s cooperating witnesses—even

those who only knew him by this moniker—can still identify him

by his first name.    Their testimony will not be unnecessarily

complicated by their inability to refer to him as “Money

Making.”   Furthermore, because no other individuals named Mike

from the conspiracy are also on trial today, there is little

chance for confusion.     Finally, the use of Defendant’s alias

would cause him unfair prejudice because he is accused of

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handling the conspiracy’s money and his particular alias—“Money

Making Mike”—“bespeaks guilt . . . or depravity.”              Farmer, 583

F.3d at 135 (vacating an attempted murder conviction after the

Government invited prejudice in its use of the defendant’s

nickname, “Murder”).         Accordingly, the Court will grant

Defendant’s motion to exclude the use of his nickname at trial.

B. Defendant Henderson’s Motion to Adopt Motions in Limine to
   Exclude Tax Returns

              Defendant asserts that he would like to adopt all

motions and memoranda in support thereof that have been

previously filed by Defendants Seko and Araya to exclude their

federal income tax returns from evidence.            Def. Mot. to Adopt

[Dkt. 526] at 1.        In particular, Mr. Henderson would like to

prevent the Government from introducing evidence that he failed

to file certain tax returns. 1         Id.

              Like Defendants Seko and Araya, the Court finds that

Defendant Henderson’s tax returns are admissible.              His tax

returns are relevant evidence under Rule 401.             Because the

returns are being offered to prove Defendant’s state of mind,

and not his propensity for committing criminal acts, the

evidence is also admissible under Rule 404(b).             See Queen, 132

F.3d at 995, 998.        Finally, Henderson’s tax returns under Rule


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  The Government’s arguments in opposition have been detailed at length in
prior Memorandum Opinions ruling on Defendant Seko’s and Defendant Araya’s
motions in limine to exclude their tax returns. As a result, the Court will
not discuss the Government’s arguments further here.

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403, while prejudicial, are not unfairly so.         See United States

v. Williams, 445 F.3d 724, 730 (4th Cir. 2006) (“The mere fact

that the evidence will damage the defendant’s case is not

enough—the evidence must be unfairly prejudicial, and the unfair

prejudice must substantially outweigh the probative value of the

evidence.”) (citation omitted) (emphasis in original).

Accordingly, Defendant’s motion to exclude his tax returns is

denied.    An appropriate limiting instruction will be provided to

the jury.

                            III.     Conclusion

            For the foregoing reasons, the Court will grant

Defendant’s motion in limine to exclude his nickname.           The Court

will deny Defendant’s motion in limine to exclude his tax

returns.

            An appropriate Order will issue.


                                                /s/
April 10, 2017                           James C. Cacheris
Alexandria, Virginia             UNITED STATES DISTRICT COURT JUDGE




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